 AO 91 (Rev. 11/11) Criminal Complaint
                                                                                                                       FILED
                                         UNITED STATES DISTRICT COURT
                                                                 for the                                        DEC O 7 2023
                                                 Eastern District ofNorth Carolina                                      ,,,,,...,,r,,..,,, JR., CLERK
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                                                                                                              --t---,..-,,--t,,,_ _ DEP CLK



                   United States of America                        )
                                 V.                                )
                                                                   )
                   Robert Michael Glauner                          )
                                                                   )
                                                                   )
                                                                   )
                           Defendant(s)


                                                CRIMINAL COMPLAINT
          I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
 On or about the date(s) of September 2023 through November 2023 in the county of Wake                                                in the
Eastern                 District of North Carolina and elsewhere the defendant(s) violated:

             Code Section                                                    Offense Description

        18 U.S.C. § 2261 A(1 )(A)(i)                                           Stalking

        18 U.S.C. §§ 1039(a)(1), (a)(3), and (e)(1)                            Fraud and related activity in connection with
                                                                               obtaining confidential phone records information
                                                                               of a covered entity




          This criminal complaint is based on these facts:


     See attached

          !!!I Continued on the attached sheet.


                                                                                              Complainant7ssti,,ature


                                                                               MICHAEL NEYLON, FBI Special Agent
                                                                                              Printed name and title

Atte~             !he complainant in accordance with the requirements offed. R. Crim. P. 4.1 by
 r~             V\.01V  V                            (specify reliable electronic means).




City and state:          Raleigh, North Carolina                           JAMES E. GATES, United States Magistrate Judge
                                                                                              Printed name and title




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             IN THE UNITED STATES DISTRICT COURT FOR THE
                 EASTERN DISTRICT OF NORTH CAROLINA

                      AFFIDAVIT IN SUPPORT OF A
               CRIMINAL COMPLAINT AND ARREST WARRANT

      I, Special Agent Michael Neylon, being duly sworn, depose and state that:

                 INTRODUCTION AND AGENT BACKGROUND

      1.      I am a Special Agent with the Federal Bureau oflnvestigation (FBI) and

have been since February 2020. Prior to that, my assignments and experience include

approximately four years of liaison work assigned to the FBI's Criminal Justice

Information Services Division (CJIS). I have attended and completed five months of

training at the FBI's Training Academy located in Quantico, Virginia. While

employed with the FBI, I have investigated and participated in investigations

involving federal criminal violations related to drug trafficking and violent crimes. I

have also received specialized training regarding, and personally participated in,

various types of investigative activities related to violent crimes, including, but not

limited to, the following: (a) physical surveillance; (b) the debriefing of defendants,

witnesses, informants, and other individuals who have knowledge concerning

violations of federal laws; (c) the execution of search warrants; and (d) the handling

and maintenance of evidence.

      2.       I have consulted extensively with other experienced agents regarding

drug trafficking and violent criminal cases. As a result, the knowledge that I have

obtained during my law enforcement career has been further informed by other law

enforcement agents with experience conducting such investigations. I have also




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obtained both my Bachelor of Science degree in Forensic Science, and my Master of

Science degree in Criminal Justice from Mercyhurst College, located in Erie,

Pennsylvania.

        3.      As a Special Agent with the FBI, I am a law enforcement officer of the

United States as defined by 18 U.S.C. § 2510(7), meaning that I am empowered by

law to investigate violations of the laws of the United States, execute warrants issued

under the authority of the United States, and make arrests for violations of Federal

laws.

        4.      The facts and information contained in this affidavit are based upon my

training and experience, personal knowledge, and observations during this

investigation, as well as the observations of other agents and investigators involved

in this investigation. This affidavit contains only the information necessary to

support probable cause, and it is not intended to include each and every fact and

matter observed by me or known to the government.

        5.      I make this affidavit in support of a criminal complaint and arrest

warrant for Robert Michael GLAUNER (GLAUNER). Based on the information

detailed below, I submit that there is probable cause to believe that, beginning in or

around September 2023 and continuing through at least November 2023, GLAUNER

violated 18 U.S.C. § 2261A(l)(A)(i) (stalking). I also submit that there is probable

cause to believe that during the aforementioned timeframe, GLAUNER did

knowingly and intentionally receive, and attempt to receive, in interstate commerce,

confidential phone records information of a covered entity for the telephone number




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XXX-XXX-8578, issued to the user with the initials M.G.D. (hereafter "Victim 1"),

without prior authorization from the customer to whom such confidential phone

records information related, and knowing and having reason to know such

information was obtained fraudulently, in violation of 18 U.S.C. §§ 1039(a)(l), (a)(3),

and (e)(l).

                                 PROBABLE CAUSE

       6.      As will be shown below, there is probable cause to believe that

GLAUNER committed the crime of stalking, in violation of 18 U.S.C.

§ 2261A(l)(A)(i), and the crime of fraud and related activity in connection with

obtaining confidential phone records information of a covered entity, in violation of

18 U.S.C. §§ 1039(a)(l), (a)(3), and (e)(l), which occurred within the Eastern District

of North Carolina.

       7.      Based on my review of law enforcement reports, conversations with

other law enforcement officers or agents, witness/victim interviews, and my own

knowledge of the investigation, I am aware of the following:

       8.      Victim 1 is a resident of North Carolina.

       9.      GLAUNER and Victim 1 met each other online, at xhamster.com, an

adult online dating website, in or around August or September 2023.

       10.     GLAUNER and Victim 1 at first had an online romantic relationship,

this was ended by Victim 1. After the relationship ended, GLAUNER continued to

contact or try to contact Victim 1.




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      11.     During the investigation into two separate incidents, the following was

learned:

      12.     On September 26, 2023, around 2:18 PM (unknown time zone), the

VSAT CCT (Version Security Assistance Team-Court Order Compliance Team),

located at 180 Washington Valley Road, Bedminster, NJ 07921, a division of Verizon

Wireless (a Covered Entity), received the following message from the email account

"steven1966c@proton.me" (hereafter known as SUBJECT EMAIL ACCOUNT #1):

              From: steven1966c <steven1966c@proton.me>
              Sent: Tuesday, September 26, 2023 2: 18 PM
              To: VSAT CCT <vsat.cct@one.verizon.com>
              Subject: (No Subject)

              Here is the pdf file for search warrant. We are in need if the this cell
              phone data as soon as possible to locate and apprehend this suspect.
              We also need the full name of this Verizon subscriber and the new
              phone number that has been assigned to her. Thank you

              Sent with Proton Mail secure email.

12.   The document that was referenced read as follows:

              IN THE MATTER OF THE SEARCH OF

              Case Number CH-27519

              Detective Steven Cooper of the Cary, NC police Department
              who is currently assigned to the Homicide Division, being of
              lawful age and first duly sworn upon my oath, states as follows.

              I am submitting this Affidavit in support of an application for a
              warrant to search and seize the cellular phone from [Mxx, referring to
              Victim 1] suspect in this homicide case. Phone number (919) 628 8578

              I am a detective with the Cary police department and have
              been so employed for approximately six years.

              During my career as a detective of the Cary police department I


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   have participated in the execution of 8 search warrants.

   Because this affidavit is being submitted for the limited purpose
   of securing a warrant, I have not included each and every fact
   known to me concerning this investigation. I have set forth only
   the facts that I believe are necessary to establish probable
   cause to believe that the portable device described above is
   evidence in this Homicide Case.

   The Phone Number [(XXX) XXX]-8578 is owned by a female person
   who was seen at the scene of the homicide. Two eye witnesses
   describe the female suspect as fleeing the scene moments after
   the crime occurred. Now my superior office and I believe that a
   member from our police department is compromised by the
   suspect. And the sheriffs office may be as well. On Friday the
   22nd of September the suspect had the Verizon phone number
   changed. Since we have looking for this suspect we have been
   unable to locate her. We are requesting all cell phone data for
   [(XXX) XXX] 8578 and the new number that was assigned to the
   suspect from her Verizon account.

   Searching the cell phone data for the evidence described above
   may require a range of data analysis techniques. We ask for all
   cell phone data to include. Call records both outgoing and
   incoming. Locations and text messages incoming and outgoing.
   We need these records going back 90 days to establish then
   involvement of the suspect [Mxx, referring to Victim 1] and any co
   suspects who has been in contact with.

   Criminals can mislabel or hide files and directories, encode
   communications to avoid using key words, attempt to delete
   files to evade detection, or take other steps designed to
   frustrate law enforcement searches or to flee the are and
   possibly the country. In light these difficulties, your affiant
   request permission to use whatever data analysis techniques appear
   necessary to locate and retrieve the evidence described above. And to
   locate and apprehend the suspect.

   [Signed Steven Cooper] Detective

   Sworn to me and described in my presence this 22nd day September
   2023

   [Signed Gale Adams] Honorable Judge


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      13.       The above-referenced "search warrant" is not in the proper format and

does not have form AOC-CR-119, as required for State of North Carolina search

warrants. The document mentioned above was signed by a person identifying himself

as Officer Steven Cooper of the Cary Police Department in North Carolina. It has

been confirmed by the Cary Police Department that no such officer is employed with

their agency.

      14.       The document mentioned above purportedly signed by "Gale Adams."

Gale M. Adams is a Superior Court Judge in Cumberland County, North Carolina,

which is likewise located within the Eastern District of North Carolina. On October

18, 2023, Judge Gale M. Adams was shown the document, and she indicated that the

signature displayed on the document was not hers.

      15.       The email address associated with the request is a Proton Mail account,

which is not an official government email address. Proton Mail is a private email

service provider located in Switzerland and is encrypted to where Proton cannot see

the contents of their user's emails. Based on the above information, detectives with

the Raleigh Police Department (RPD) determined the document to be counterfeit and

was created with the intent to injure or defraud.

      16.       On September 26, 2023, at 3:07 PM, VSAT CCT received a phone call

from a subject who identified himself as Officer Cooper of the Cary Police

Department, utilizing the phone number 843-999-0323 (hereafter the TARGET

NUMBER) . The caller stated that he sent the PDF version of the search warrant and

was waiting for Verizon's reply. The caller said that he had just received information


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from a CI (Confidential Informant) that the "suspect" in the homicide case was going

to flee to Puerto Rico and requested a rush on delivery of the data. The information

being sought was associated with the number "XXX-XXX-8578." The caller stated

that the person involved changed her phone number. The caller originally sent his

"search warrant" to Verizon Wireless's VSAT.CCT@one.verizon.com address and

agreed to resend a copy of the search warrant so the call taker (at Verizon) could find

the search warrant.

      17.      Based on the information provided by Eric Lawson from the VSAT CCT,

the phone number mentioned within the fraudulent search warrant above (XXX-

XXX-8578) is assigned to the Verizon Wireless subscriber Victim 1.

      18.      On September 26, 2023, at 3:15 PM (unknown time zone), VSAT CCT

received a communication from SUBJECT EMAIL ACCOUNT #1 stating the

following:

               From: steven1966c steven1966c@proton.me
               Sent: Tuesday, September 26, 2023 3:15 PM
               To: VSAT CCT <vsat.cct@one.verizon.com>
               Subject: search warrant

               We need this information non [(XXX) XXX] 8578 and all info on
               subscribers new number and full name

               Sent with Proton Mail secure email.

      19.      On October 5, 2023, Verizon Wireless provided Victim l 's phone records,

including address and phone logs, to GLAUNER.

      20.      On October 9, 2023, around 3:54 PM (unknown time zone), VSAT CCT

received a phone call from a subject who identified himself as Officer Cooper of the




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Cary Police Department, and the caller was asking how to read the data. Based on

the conversation in the recorded call, it was confirmed that GLAUNER had obtained

the records from Verizon Wireless. The caller indicated that the subscriber had

changed phone numbers, and he had obtained the new number.

      21.    On October 10, 2023, at 1:43 PM (unknown time zone), VSAT CCT

received a communication from SUBJECT EMAIL ACCOUNT #1 stating the

following:

             From: steven1966c <steven1966c@proton.me>
             Sent: Tuesday, October 10, 2023 1:43 PM
             To: VSAT CCT <vsat.cct@one.verizon.com>
             Subject: Search Warrant [XXX XXX] 5456

             This search is signed and needs to be executed
             Immediately
             We believe that the subscriber of this number is
             planning on fleeing the country to Puerto Rico soon.

             Your cooperation on this matter would be greatly
             appreciated.

             Thank you,
             Detective Steven Cooper

             Sent with Proton Mail secure email.

      22.    This communication contained an attachment that read as follows:

             IN THE SUPERIOR COURT, WAKE COUNTY JUDICIAL
             DISTRICT COURT COUNTY OF WAKE
             SEARCH WARRANT

             No, CH _27519

             The people of the state of North Carolina, to any sheriff, any constable,
             marshal, police officer, or any other peace officer in the County of
             Wake.




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             Proof by affidavit, having been made this day before me by Detective
             Steven Cooper employed by the Cary police department, that there is
             substantial probable cause for the issuance of the search warrant. You
             are therefore commanded to make search at this time for good cause
             being shown therefore, the complete cell phone data for Verizon
             Cellular Number [(XXX) XXX] 5456, including name of subscriber and
             address of subscriber to this phone number. The data to be collected is
             for the past three months. All data to include is as follows . All incoming
             and outgoing calls, all texts messages both incoming and outgoing, GPS
             coordinates for said number, and all pictures being sent and received.
             IP address of said number to be collected. Complete cell sites
             identification numbers.

             Given under my hand on this 10th day of October, 2023

             [Signed Gale Adams]

             Judge of the Superior court
             Wake County Judicial District

      23.    Based on the similar formatting errors, the lack of form AOC-CR-119,

the similar affiant "Steven Cooper," and the same judge's forged signature (also

reflecting an incorrect county), RPD detectives determined that this document was

counterfeit and was created with the intent to injure or defraud.

      24.    Based on information provided by Eric Lawson from the VSAT CCT, the

phone number referred to in the email as mentioned above (XXX-XXX-5456) and

listed in the fraudulent "search warrant" was also assigned to subscriber Victim 1.

      25.    On October 12, 2023, at 4:52 PM (unknown time zone), VSAT CCT

received another communication from SUBJECT EMAIL ACCOUNT #1, stating the

following:

             search warrant [(XXX) XXX] 5456
             steven1966c <steven1966c@proton.me> Thu, Oct 12, 2023 at 4:52 PM
             To: VSAT CCT vsat.cct@one.verizon. com




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             This is Detective Steven Cooper with the Cary, NC police Dept
             I have submitted a searchvm warrant for Verizon number [(XXX) XXX]
             5456 and I have not heard back from your legal department.
             Nit even a case number. Now the user of this number is wanted
             for a homicide. We believe that this person is getting ready to
             flee the US jurisdiction to Puerto Rico. We would like to get the
             data on this number as soon as possible please.
             Thank you for your cooperation.

             Sent with Proton Mail secure email.

      26.    On October 13, 2023, at 3:24 PM (unknown time zone), VSAT CCT

received a communication from the email account "Tim.K.1972@proton.me"

(hereafter SUBJECT EMAIL ACCOUNT #2), stating the following:

             From: Tim.K.1972@proton.me <Tim.K.1972@proton.me>
             Sent: Friday, October 13, 2023 3:24 PM
             To: VSAT CCT <vsat.cct@one.verizon.com>
             Subject: search warrant

             Here is the recent search warrant for subscriber number [(XXX) XXX]
             8578 we are
             in need of this information as soon as possible. We believe that this
             homicide
             suspect is ready to flee the US to avoid prosecution. We need the new
             number
             that was described in the warrant to locate this suspect before she fees
             the
             country.

             Thank you for your cooperation

             Sent with Proton Mail secure email.

      27.    On October 13, 2023, at 5:11 PM (unknown time zone), VSAT CCT

received a communication from SUBJECT EMAIL ACCOUNT #2, stating the

following:

             typo error




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              Tim.K.1972@proton.me <Tim.K.1972@proton.me> Fri, Oct 13, 2023 at
              5:11 PM
              To: "VSAT.CCT@ONE.Verizon.com" <VSAT. CCT@one.verizon.com>

              This is in regards to the pdf file of a search warrant for the Verizon
              Phone
              Number [(XXX) XXX] 8578 it appears that the typo error is in regards
              to the date
              of the new number that was issued to the subscriber. The date should
              read as
              follows. The 22nd of September of 2023.

              Sent with Proton Mail secure email.

      28.     On October 13, 2023, around 3:52 PM , Victim l 's mother (hereafter

Victim 2) received a voice message from GLAUNER concerning trying to contact

Victim 1. Between October 13 and October 22, 2023, Victim 2 received ten different

voice messages from GLAUNER indicating that he was trying to reach Victim 1

and would not stop until he made contact with Victim 1.

      29.     On October 15, 2023, at 3:39 PM, a subject identifying himself as

"Christopher Mullins" called the Raleigh Wake Emergency Communications Center

utilizing the TARGET NUMBER and requested a check on welfare for the address

of 50 Summit Ave, Raleigh, NC. The following were comments entered by the 911

dispatcher:

              [1] COUSIN WAS TALKING ABT HURTING HERSELF SINCE
              FRIDAY
              [2] COUSIN NAME IS [Mxx, referring to Victim 1] [XXXXXX]
              [3] Duplicate call appended to incident at 15:42:56
              [4] CALLER STATES SHE THREATENED TO TAKE MORPHINE TO
              END HER LIFE ON
              FRIDAY. HE HAS NOT HEARD FROM HER SINCE THEN AND IS
              NOW WORRIED. HE
              THOUGHT SHE JUST WANTED ATTENTION ... [Mxx, referring to
              Victim l]'S DOB IS [X-XX]-1989. HER PHONE


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              NUMBER      IS  [XXX-XXX]-5456 AND    SHE   IS   NOT
              ANSWERING.STATES SHE IS
              [5] STATES SHE HAS NEVER DONE THIS BEFORE. CALL COMP
              WITH RESULTS. SHE DOESN'T HAVE A CAR.

       30.    RPD Officer W. Conner responded to the call and determined that the

call was false.

       31.    On October 16, 2023, at 12:37 PM (unknown time zone), VSAT CCT

received a communication from the email account "gallagher.kelley@proton.me"

(hereafter SUBJECT EMAIL ACCOUNT #3), stating the following:

              From: gallagher.kelley@proton.me <gallagher.kelley@proton.me>
              Sent: Monday, October 16, 2023 12:37 PM
              To: VSAT CCT <vsat.cct@one.verizon.com>
              Subject: Search Warrant

              This is a search warrant for the Verizon subscriber and we need this
              information as soon as possible for this subscriber is a suspect in a
              homicide case. Thank you for your cooperation.

              Sent with Proton Mail secure email.

       32.    The document that was referenced read as follows:

              IN THE SUPERIOR COURT, WAKE COUNTY JUDICIAL
              DISTRICT COURT COUNTY OF WAKE

              SEARCH WARRANT
              No, CH _27519

              The people of the state of North Carolina, to any sheriff, any constable,
              marshal, police officer, or any other peace officer in the County of
              Wake.

              Proof by affidavit, having been made this day before me by Kelle
              Gallagher employed by the White Oak police department, that there is
              substantial probable cause for the issuance of the search warrant. You
              are therefore commanded to make search at this time for good cause
              being shown therefore, the complete cell phone data for Verizon




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             Cellular Subscriber [Mxxxxxxx Dxxxxxx, referring to Victim 1],
             including name of subscriber and address of subscriber to include all
             additional lines to this subscriber. To
             Include the New number than was assigned that was changed from
             [(XXX) XXX] 8578 on the 22nd Of September of 2023. The data to be
             collected is for the past three months. All data to include is as follows.
             All incoming and outgoing calls, all texts messages both incoming and
             outgoing, GPS coordinates for numbers including all additional line
             connected to this subscriber, and all pictures being sent and received.
             IP addresses of all numbers connected to this subscriber to given.
             Complete cell sites identification numbers.

             Given under my hand on this 12th day of October, 2023

             [Signed Gale Adams]
             Judge of the Superior court
             Wake County Judicial District

      33.    Based on the similar formatting errors, the lack of form AOC-CR-119,

the similar wording, the same judge's signature, the use of the Proton Mail email

account, and the fact that a White Oak Police Department (in North Carolina) does

not exist, it was determined by RPD detectives that this document was counterfeit

and was created with the intent to injure or defraud.

      34.    In addition, the phone number referenced in the fraudulent document

(XXX-XXX-8578) appears similar to Victim l's number but contains a typographical

error in one digit. However, the document makes a direct reference to Victim 1 by

name within its body.

      35.    On October 16, 2023, at 7:24 PM, Victim l 's father (hereafter Victim 3)

received a text message on his mobile phone from the TARGET NUMBER. The text

consisted of a picture of Victim 1 and the message, "Do you know this girl?"




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      36.    On October 17, 2023, at 9:17 AM (unknown time zone), VSAT CCT

received a communication from SUBJECT EMAIL ACCOUNT #3 stating the

following:

             From: gallagher.kelley@proton.me <gallagher.kelley@proton.me>
             Sent: Tuesday, October 17, 2023 9:17 AM
             To: VSAT CCT <vsat.cct@one.verizon.com>
             Subject: search warrant

             To whom this may concern. I have sent a pdf copy of a search warrant
             1n
             regards to a Verizon Subscriber that is involved in a homicide case. We
             the
             White Oak, NC police Department would like the results of this warrant
             to be
             issued as soon as possible. Thank you for your consideration.
             Detective Kelle Gallagher

       37.   On October 18, 2023, at 1:29 PM (unknown time zone), VSAT CCT

received a communication from SUBJECT EMAIL ACCOUNT #3 stating the

following:

             Warrant
             gallagher.kelley@proton.me <gallagher.kelley@proton.me> Wed, Oct
             18, 2023 at 1:29 PM
             To: "VSAT.CCT@ONE.Verizon.com" VSAT.CCT@one.verizon.com

             This is Detective Kelle Gallagher of the White Oak Police Department,
             0
             have a search warrant pending with Verizon. VSAT Case Number
             23492085-0 I'm in need of the information listed in this warrant soon.
             We
             believe that the subscriber is trying to flee the country to avoid
             prosecution.
             Your help on getting us this data would be greatly appreciated. Thank
             you
             for your cooperation.

             Also can you make sure all IP addresses are included m the data
             package.


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               Sent with Proton Mail secure email.

       38.     On October 18, 2023, around 6:45 PM (unknown time zone), VSAT CCT

received a phone call from a subject who identified themselves as "Kelley Gallagher"

from the "White Oak Police Department." GLAUNER provided the callback number

505-234-4257. The caller requested a "rush" on the return of the search warrant due

to the "suspect fleeing the country." The caller advised that no target number was

referred to in the legal document but referred to the name "[Mxxxxxxx, referring to

Victim 1] ."

       39.     The VSAT CCT at Verizon Wireless discovered that 505-234-4257 is a

number assigned to a Wal-Mart Family Mobile account managed by Verizon Wireless.

According to Verizon Wireless records, the subscriber is Tanya Armenta, of 1002 17th

St, NW, Rio Rancho, New Mexico 87144.

       40.     On October 18, 2023, Cumberland County Superior Court Judge Gale

M. Adams, whose name was used on the fictitious search warrants, was contacted by

law enforcement. Judge Adams was shown a copy of the fictitious search warrant

dated September 22, 2023. Judge Adams advised that she did not sign this document

and that the signature was not hers.

       41.     On October 19, 2023, an employee of the Shoe Department Encore,

located in Raleigh, North Carolina, where Victim 1 also worked and was present at

the time, received a phone call from an unknown caller looking to speak with

Victim 1. Victim 1 used her mobile device to record the conversation between her

coworker and the caller. The caller asked to speak with "Victim 1," and the coworker


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indicated that nobody by the name was working at the store at that time. The caller

became upset, accused the coworker of lying, and called the coworker a "prick" before

disconnecting. RPD detectives reviewed the recording, and identified the unknown

caller's voice as the same as GLAUNER that called Verizon Wireless and Raleigh

Wake Emergency Communications. The store continued to receive multiple calls

from GLAUNER for several days, and the frequency of the calls interrupted the

employees and the business.

      42.    A search was conducted through various law enforcement databases for

the TARGET NUMBER and it was discovered that the service provider assigned the

number is Bandwidth.com, meaning that the TARGET NUMBER is a VoIP (Voice

over IP) number. On October 19, 2023, Bandwidth.com identified the number as

being leased to Google, Inc. Google provides VoIP numbers through their Google

Voice service. Google Voice is an Internet-based calling and texting service that can

be used by mobile devices for free.

      43.    On October 23, 2023, probable cause was presented to Wake County

Superior Court Judge Ridgeway, requesting the issuance of a search warrant for the

Google account associated with the TARGET NUMBER.              After reviewing the

probable cause affidavit, Judge Ridgeway issued the search warrant authorizing the

search of the Google account associated with the TARGET NUMBER.

      44.    On October 24, 2023, the search warrant was uploaded to Google's

online legal portal as required.




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      45.      On October 26, 2023, Victim 1 obtained a Tracphone with the assigned

number XXX-XXX-0176, and provided the number to GLAUNER to prevent or

reduce the calls and text messages to Victim l 's friends , family, and employer.

GLAUNER started communicating with Victim 1 through the Tracfone number, and

the calls and texts to Victim l 's friends and family members stopped or were greatly

reduced.

      46.      On October 30, 2023, Google returned the search warrant results. Based

on the information provided by Google, the Google Voice account associated with the

TARGET NUMBER had logged into the service utilizing the following IP addresses:

               a.    (67.0.93.204) at 2023-10-13, at 23:43:47 Z

               b.    (67.0.93.204) at 2023-10-13, at 23:41:26 Z

               c.    (67.0.93.204) at 2023-10-13, at 20:09:50 Z

      47.      Based on information gathered from ARIN.net, the IP address listed

above was assigned to the internet service provider CenturyLink Communications,

LLC, headquartered at 100 CenturyLink Dr. , Monroe, LA 71201.

      48.      The "terms of service" IP address was listed as:

               a.    (2607:fb90:3588:8dlb:7bd9:2012:5de:ee3f)     at   2023-08-29,   at

                     03:22:33 Z

      49.      Based on information gathered from ARIN.net, the IP address

mentioned above was assigned to the internet service provider T-Mobile USA, Inc. ,

headquartered at 12920 SE 38th Street, Bellevue, WA 98006. T-Mobile provides




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communications services for mobile devices for a fee , indicating that a mobile device

was used to access the Google Voice account in the commission of these crimes.

      50.    On October 30, 2023, probable cause was presented to Wake County

Superior Court Judge C. Croom, requesting the issuance of court orders for

information regarding the IP addresses mentioned above.          After reviewing the

probable cause affidavit, Judge Croom issued the court order authorizing the

disclosure of the IP addresses by the internet services providers.

      51.    On November 1, 2023, CenturyLink (now called LUMEN) responded to

the order and provided the subscriber information for the internet access account

assigned to the IP addresses mentioned above.         According to LUMEN, the IP

addresses were assigned to subscriber Tanya Armenta at the physical address of 1002

17th St NW, Rio Rancho, New Mexico 87144. This subscriber and address are the

same as the mobile number listed as a callback number during GLAUNER's

communications with Verizon Wireless on October 18, 2023.

      52.    Utilizing various law enforcement databases, including Accurint and

NCLinx, a subject identified as GLAUNER (DOB: XX/XX/1964) was associated with

the above-referenced subscriber, Tanya Armenta.         Utilizing DCI/NCIC, it was

discovered that GLAUNER had claimed the same above-referenced address on his

New Mexico driver's license.

      53.    In addition, it was learned that GLAUNER was listed in NCIC as

wanted by the San Diego Sheriffs Office on a charge of Stalking. Inquiries revealed

that the NCIC entry was related to an arrest warrant issued by the Oceanside Police




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Department regarding a stalking case involving GLAUNER's ex-girlfriend, Kelle

Gallagher. Notably, several of the fictitious search warrants were issued by Officer

"Kelle Gallagher."

      54.      On November 2, 2023, Investigators received copies of the case reports

from the Oceanside Police Department involving the stalking case involving

GLAUNER.          The reports detail how GLAUNER called and texted Gallagher

repeatedly and even called law enforcement to report fictitious crimes at Gallagher's

address.    One     of the Oceanside Police reports documented that Gallagher had

"changed her phone number 4 times in the last four months but somehow

[GLAUNER] keeps getting her number."

      55.      On    November    5, 2023, Victim      1 advised that      she   received

communications from GLAUNER that he was on his way to North Carolina. He

reported that he would arrive in Cary, North Carolina, around 11:00. Later that day,

Victim 1 received a text message that contained the following excerpt:

               I really can't F***** believe you did this to me again [Mxxxxx,
               referring to Victim 1] you f***** me with my gas the money I
               spent on gas to drive all the way to f****** Little Rock Arkansas
               and then tell me to turn around you f***** c*** that's right I'm
               venting right now because I don't know what else to do except
               maybe crash my f***** car into a tree and just f***** end it
               because of you or maybe I should just turn around head to your
               house and stop at a f***** Walmart or somewhere or I don't know
               Dick's sporting goods what else though the big five and pick me
               up a f**** rifle and come to your house how's that sound f*******
               it if I can't have either nobody can how does that sound [Mxxxxx,
               referring to Victim 1] are you getting scared now yeah I think
               that's what I'm going to do I'm just going to turn around stop at a
               big five and give me a f******* rifle and some ammunition and if
               I can't have you no one can you want to treat me like this well
               f*** you.


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      56.    These statements put Victim 1 in fear for her life and her general safety.

Victim 1 relayed information to law enforcement regarding GLAUNER's

whereabouts as he traveled from New Mexico to Raleigh, North Carolina.

      57.    On November 6, 2023, probable cause was presented to a Wake County

Magistrate Judge requesting the issuance of an arrest warrant charging GLAUNER

with Extortion (for threatening to release Victim l 's nude images to family members),

Stalking, Cyberstalking, and Communication of Threats.           After reviewing the

probable cause, Wake County Magistrate S. Jackson issued a warrant authorizing

the arrest of GLAUNER.

      58.    Based on text messages and other information, GLAUNER appeared to

be heading to 50 Summit Ave., Raleigh, North Carolina, where he believes Victim 1

resides. Law Enforcement established surveillance on 50 Summit Ave while Victim 1

and her family left the residence for the evening.       At approximately 9:00 PM,

GLAUNER arrived driving a red Jeep Cherokee bearing the New Mexico license

plate WAGL61. This vehicle is registered to Tanya Armenta of 1002 17th St NW, Rio

Rancho, NM 87144. GLAUNER parked the Jeep on Maywood Ave., near Summit

Ave., exited the vehicle, and walked towards 50 Summit Ave. GLAUNER appeared

to be texting on a mobile device, and this was confirmed by Victim 1. GLAUNER

stopped directly in front of 50 Summit Ave. before entering the neighbor's yard and

standing in a darkened area, at which time members of RPD arrested him. A search

incident to arrest revealed that he had a black folding razor blade knife on his person

and two mobile phone devices. One of these mobile phone devices displayed an image


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of Victim 1 as the lock screen, and the screen displayed a notification that a text

message was received from "Victim l."

      59.    GLAUNER was arrested and transported to the Wake County Jail, and

the outstanding warrants were served. GLAUNER was also charged with being a

Fugitive from Justice for the outstanding warrant from California. GLAUNER was

given a $550,000 bond.

      60.    On November 6, 2023, contact was made with Tanya Armenta, who

indicated that she and GLAUNER had been involved in a romantic relationship. She

further stated that GLAUNER was utilizing her vehicle.            She believed that

GLAUNER was in Oklahoma. Armenta indicated that her brother, Wayne Armneta,

resides in Butner, North Carolina, and she would like Wayne to pick up the Jeep .

Armenta suspected that GLAUNER was communicating with other women because

GLAUNER acted distant and strange. Sometime before GLAUNER's arrest, she

took it upon herself to look through his phone and took photos of messages and other

files on GLAUNER's phone that confirmed her suspicions. Armenta agreed to send

investigators the images she took of items on GLAUNER's phone. The images were

added to the RPD case file. The images showed that the device was communicating

with Victim 1, and Victim l 's address was listed in a note stored on the phone.

      61.    On November 7, 2023, Investigators met with Wayne Armenta so he

could pick up the Jeep. Wayne asked investigators to search the Jeep before he took

possession. Tanya Armenta was contacted by phone, and she verbally consented to

search her Jeep.




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      62.     Upon searching the Jeep , investigators located a glass meth pipe and an

Altoids-brand    tin    containing    approximately     eight   grams   of   suspected

methamphetamine in the same pocket of a tan Carhart jacket that Wayne positively

identified as belonging to GLAUNER. In addition, two new bundles of rope (still in

the plastic wrap) were discovered in a black backpack found in the Jeep's second-row

seat. Photos were taken of the suspected methamphetamine and ropes and were

added to the RPD case file . The suspected methamphetamine was confiscated and

placed into evidence, but the ropes were left in the Jeep as they were not believed to

be contraband. The suspected methamphetamine has since been submitted for lab

testing.



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                                    CONCLUSION

      63.    Based on the facts set forth in this affidavit, I submit that there is

probable cause to believe that Robert Michael GLAUNER violated 18 U.S.C.

§ 2261A(l)(A)(i) (stalking), and 18 U.S.C. §§ 1039(a)(l), (a)(3), and (e)(l).

                                         Respectfully Submitted,


                                               ~
                                         MICHAEL NEYLON
                                         Special Agent
                                         Federal Bureau of Investigation



On this ..:2_ day of December, 2023, at or around /0 :s;-7 ~ Special Agent
Michael Neylon appeared before me via reliable electronic means (telephone), was
placed under oa , and attested to the contents of this Affidavit.



J




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